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                       EXHIBIT A
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   From: RetailDeck <info@RetailerWebServices.com>
   Date: July 20, 2018 at 1:33:39 AM EDT
   To:
   Subject: another update: what's happening with RetailDeck and ADC



                              A lot has happened in just a few short days. Here are the latest developments from   Email not displaying correctly?
                              today, July 19th.                                                                    View it in your browser.




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                           Breaking News: new communication from ADC
                           As of this evening, we still haven't received any communication directly from Ken Miele.
                           We are still anxious to receive an answer to those three simple and important
                           questions. But we did receive this email from the ADC office:

                           "ADC has turned the Retail Deck Inventory Feed files back on for all dealers. RWS should
                           receive files for each dealer in the next scheduled run at 12:15PM.

                           Please feel free to, not only populate the dealers websites with the information
                           but, reestablish all Retail Deck account access as well."


                           Your RetailDeck account has been reinstated.
                           Our team has been busy monitoring the feeds, reinstating RetailDeck accounts and
                           testing all integrations. Every ADC member should now have access to RetailDeck with
                           current inventory/pricing information. If you cannot log into your account or see anything
                           amiss, please contact us right away by responding to this email or calling 800-417-2799
                           ext 1 for support.


                           RetailDeck will warn you if your feed is not current:
                           When you log into RetailDeck (store owner and store admin accounts only), you will see a



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                           yellow bar across the top of your screen if we have not received a feed for your store
                           within the last 60 minutes. It would look like this:




                           If you do not see a yellow warning bar, that means all is well and your data is current. This
                           automated warning system will remain in place moving forward for your continued peace
                           of mind.


                           We've been asked a lot of questions about the images with
                           "Plessers.com" on HomeSource websites:
                           One of the videos we shared last night (this one specifically) showed HomeSource
                           websites displaying product images with a Plessers.com watermark. Plessers is a NECO
                           member that makes their own website. Here are the most common questions we received
                           today about that and the facts to answer them.


                           Q: Are those images still there...and how many are there?


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                           We did a little digging and found a lot more than we expected; see what we found in this 6
                           minute video about these images.


                           Follow Up: Our investigation unearthed a possible major
                           security concern with HomeSource sites. We have alerted
                           ADC and HomeSource.
                           You can learn more about it in the same video from above.


                           Q: Has HomeSource ever done anything like this before?
                           Public trials are part of the public record; anyone can view the official documents and
                           transcripts of the lawsuits a company and their officers have been involved in. The White
                           family, owners of HomeSource and similar other businesses, appear to have a history of
                           their business relationships ending in lawsuits against them.

                           They were found guilty of making negligent misrepresentations about the capabilities
                           of their software in a federal lawsuit (Civil Action No. 3:12-CV-0090). In a unanimous
                           decision, the jury awarded their customer – Furniture Distributors Inc, a chain of furniture
                           stores – $450,000. The judge later deemed the counter-claims they alleged along the way
                           “totally meritless” and ordered them to pay Furniture Distributors Inc fifty thousand dollars
                           to reimburse attorney fees in addition to the four hundred fifty thousand dollars already
                           awarded them at trial. The honorable Judge Graham C. Mullen wrote:

                           “Defendant failed to offer any evidence in support of this proposition. Defendant argues
                           that it believed it had a basis for these claims at the time they were brought, but certainly it
                           discovered that they were meritless at some point before trial. Its persistence in pressing
                           these claims through discovery and depositions—and submitting them as issues for trial—
                           amounts to a bad faith prosecution of the claims and justifies an award of attorney fees in
                           this case.”




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                           Despite the ruling, Furniture Distributors Inc sued Homesource again when
                           Homesource failed to make any of the payments ordered (Case 3:15-CV-00313). In
                           this federal lawsuit, their former customer alleged the White family fraudulently
                           transferred assets to prevent having to pay the judgement and engaged in unfair and
                           deceptive trade practices.

                           Their 2nd suit against the Whites cited yet another federal lawsuit Homesource was
                           involved in at the time (Case 3:15-CV-00122). This suit was filed by Martin Salas, a
                           consultant Homesource hired after the previous judgement to sell their products and assist
                           in the transferring of assets, when he alleges Homesource failed to pay his outstanding
                           compensation of $10,000/month and document the ownership stake he was promised in
                           the White family entities. You can read his account in Exhibit B.

                           The ownership of the Homesource app software itself appears to be in question
                           throughout these cases. During these federal lawsuits, the Whites alleged it is really
                           owned by their retired school-teacher mother, Phyllis White. They produced 2 short and
                           unsophisticated documents outlining a fifty thousand dollars per year plus 20% of sales
                           royalty agreement. During Phyllis’ deposition she did not know or could not recall:

                                 the name of the software
                                 what the software does
                                 when she acquired it
                                 who developed it
                                 if whoever gave it to her had the right to do so
                                 who drafted the license agreement
                                 how long the agreement is
                                 where the agreement is




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                                 or what the agreement entailed.

                           And despite the signed license agreements that were furnished during these cases, in
                           lines 3 – 7 of page 59 of her deposition, Phyllis states she was not aware of even
                           executing any agreement to license her app or accounting software to Homesource and
                           its president Greg White.




                           These matters are far from ancient history as they were just recently resolved; the last
                           document is dated August 30th, 2016.


                           Q: Did ADC know about HomeSource's checkered legal
                           history?
                           We have tried diligently to keep these communications strictly factual. We have no facts to
                           share with you on this one. But we do have an opinion:




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                           ***Opinion Editorial by Jim Kane***
                           In my opinion, I think the likelihood ADC leadership was aware of HomeSource's past
                           legal transgressions is very small. I find it hard to believe that anyone aware of this legal
                           history would choose to place this company and these individuals in the position of high
                           trust that goes along with operating eCommerce websites or a platform that handles
                           sensitive and confidential information. Also, although this information is a matter of public
                           record, it did take quite a bit of effort to locate. I believe they were unaware of these facts.




                           Several ADC members have asked for help connecting with
                           other members that have concerns about the events of this
                           week:
                           We don't want to presume, overstep or share contact information without your explicit
                           permission. If you would like to be connected with other concerned members, click the
                           button below and supply your contact information. We'll let you connect without us in the
                           middle.




                           We would be thrilled to work with ADC:
                           The last few days have been challenging, but let us be clear. We would be thrilled to work



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                           with ADC on deeper ordering integration, improvements to RetailDeck, the introduction of
                           AdRocket to power vendor-funded digital advertising like we have done to great success
                           with Intercounty, and any other projects that will help ADC members succeed in this
                           rapidly changing retail environment. Our door is open. The welcome mat is out.


                           If you have more questions for us:
                           You are welcome to respond to this email or call us.

                           - Jim Kane, CEO and Founder of RWS
                           - and Jennie Gilbert, COO




                           unsubscribe from all emails




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